      Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 1 of 8



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


STEVEN SURABIAN, and STEVEN SURABIAN         )
TRUSTEE FOR THE RICHARD SURABIAN             )
IRREVOCABLE TRUST,                           )
                                             )
                           Plaintiffs,       )
                                             )     CIVIL ACTION NO.
v.                                           )     11-10053-DPW
                                             )
HSBC BANK USA, NA as TRUSTEE FOR             )
SEQUOIA MORTGAGE TRUST 2004-6                )
                                             )
                           Defendant.        )


                        MEMORANDUM AND ORDER
                           March 26, 2012

     Plaintiffs, Steven Surabian and Steven Surabian as Trustee

for the Richard Surabian Irrevocable Trust, brought this action

against Defendant HSBC Bank USA, NA, as Trustee for Sequoia

Mortgage Trust 2004-6 (“HSBC”) alleging wrongful foreclosure,

loss of personal property, loss of rent, and emotional distress.

HSBC has moved to dismiss the Complaint.

     To survive a motion to dismiss for failure to state a claim

upon which relief can be granted, “a complaint must contain

sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.”       Ashcroft v. Iqbal, 129

S.Ct. 1937, 1949 (2009) (internal citations omitted).         “If the

factual allegations in the complaint are too meager, vague, or

conclusory to remove the possibility of relief from the realm of

mere conjecture, the complaint is open to dismissal.”         SEC v.

Tambone, 597 F.3d 436, 441 (1st Cir. 2010) (en banc).
         Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 2 of 8



                                      I.

     Count I of the Complaint alleges that HSBC wrongfully

foreclosed on the property at 85 Pond Street, South Yarmouth, MA,

after Steven Surabian repeatedly informed Defendant that there

was no mortgage on the property.           The Complaint does not address

the mortgage that was recorded on the property at the Registry of

Deeds in 2004, on the last page of which the signatures “Steven

Surabian” and “Stephanie LaFlash Surabian” appear.            In their

narrative opposition to HSBC’s motion to dismiss, Plaintiffs

raise for the first time the contention, not supported by an

amended pleading, that the mortgage and note were forged.

         In a previous complaint filed in Surabian v. HSBC Bank USA,

NA, No. 10-10643-RZW (D. Mass. filed Apr. 16, 2010), regarding

the property at 85 Pond Street, Plaintiffs also claimed that the

foreclosure was wrongful.        They alleged that the mortgage did not

have a notary seal on every page and that the note was signed by

Steven Surabian alone and “can not be anything Steven Surabian

signed.”     In later submissions, Plaintiffs claimed that the

documents were fraudulent but did not raise the forgery

contention.     The case was dismissed without prejudice by Judge

Zobel and the First Circuit dismissed the appeal for lack of

jurisdiction after Plaintiffs filed the case now before me.              See

Surabian v. HSBC Bank USA, NA, No. 10-2400 (1st. Cir. April 28,

2011).


                                       2
      Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 3 of 8



     Surabian presented similar allegations before Judge Gertner

regarding yet another property in Surabian v. Residential Funding

Co., LLC., No. 10-10546-NG (D. Mass. filed Apr. 1, 2010).             In

Residential Funding Co., Surabian and his brother brought a state

court action to prevent a foreclosure.       Count I of the complaint

in Residential Funding Co. was almost identical to Count I of the

complaint in the previous iteration of this case dismissed by

Judge Zobel.   Plaintiffs claimed that the foreclosure was

wrongful on the grounds that the note and mortgage did not have a

notary seal on every page and the note “can not be anything

Steven Surabian or Richard Surabian signed.”

     Residential Funding Co. was removed to federal court and

subsequently dismissed by Judge Gertner.       The First Circuit

upheld the dismissal, stating:

     [I]n their more recent filings, [Plaintiffs] have expanded
     on their allegations to assert that the note and mortgage
     were fraudulent documents that were never executed and that
     Steven Surabian’s signatures, both notarized and otherwise,
     were forged. These revised allegations, which are at some
     odds with plaintiffs’ earlier contentions, simply lack
     “facial plausibility.”

Surabian v. Residential Funding Co., No. 11-1212, slip op. at 2.

(1st Cir. Sept. 28, 2011), petition for cert. filed (U.S. March

12, 2012) (No. 11-9337).

     In all three cases, Surabian initially made allegations of

wrongful foreclosure in the pleadings but did not specify

forgery.   In both this case and Residential Funding Co., the


                                    3
      Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 4 of 8



suggestion of forgery was first introduced in unsworn briefing.

A complaint cannot be amended in that fashion.        Following the

First Circuit’s approach in Residential Funding Co., I hold that

Plaintiffs’ allegations lack facial plausibility, and will

therefore dismiss Count I.

                                  II.

     Count II of the Complaint alleges that foreclosure and

HSBC’s harassment of Plaintiffs’ tenant after foreclosure caused

the tenant to stop paying rent to Plaintiff.        Count II is

dependent on the survival of the challenge to foreclosure in

Count I.   Because Count I is insufficient to survive a motion to

dismiss, Count II will be dismissed as well.

                                  III.

     Count III alleges that Plaintiffs’ property was missing from

the garage after HSBC’s agent secured the property and changed

the locks.   This “loss of personal property” claim presents some

inconsistent pleading.    The Complaint alleges that “[o]n or about

July 28, 2010 the Plaintiff noticed that [the tenant] Ms. Hunter

had moved and changed the locks and had left the door to the

Garage unlocked . . . .”    Compl. ¶ 28.     This appears to

contradict Plaintiffs’ allegations in Count III that HSBC, and

not Ms. Hunter, is somehow responsible.

     In their narrative response to the motion to dismiss,

Plaintiffs contend that there is no contradiction in the


                                    4
      Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 5 of 8



Complaint, explaining that, while originally Surabian thought

that Ms. Hunter had changed the locks, later HSBC admitted that

his agent had done so.    That clarification is not included in the

pleadings, however.    In any event, a contradiction within a

complaint does not necessarily provide grounds for dismissal.

The First Circuit has held, albeit prior to Iqbal, that

“inconsistent pleading does not deprive the pleader of the right

to have the complaint read, as between the inconsistencies, in

the manner that supports the adequacy of the pleading.”         In re

Stone v. Webster, Inc., Securities Litigation, 414 F.3d 187, 200

(1st Cir. 2005).   An effort to read the Complaint in the instant

case in such a manner, however, does not provide a basis for

concluding that the Complaint before me states a plausible claim

for relief.

     It stretches plausibility to find that because the Complaint

alleges that HSBC’s “agent secured the property on July 27, 2010

and changed the locks,” Compl. ¶ 32, and that on July 28, 2010,

“the Plaintiff noticed the door to the garage . . . was left

unlocked” and “then Plaintiffs noticed over $8,000.00 of their

property missing,” Compl. ¶ 31, HSBC is responsible for the loss.

It would embrace the logical fallacy post hoc ergo propter hoc to

infer that even if HSBC’s agent left the garage door unlocked or

otherwise inadequately secured the garage those acts led to a

loss for which HSBC is responsible without at a minimum alleging


                                    5
      Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 6 of 8



that Plaintiffs’ property was inside when the garage was secured

either by HSBC or by Ms. Hunter on July 28.       Because the

Complaint does not allege sufficient facts plausibly to state a

claim for relief, I will dismiss Count III.

                                  IV.

    Count IV of the Complaint alleges infliction of emotional

distress.   While the Count does not make explicit whether it is

negligent or intentional infliction of emotional distress that is

alleged, the Complaint makes no mention of physical harm

manifested by objective symptoms.       I therefore conclude that

Count IV refers to intentional infliction of emotional distress,

which does not require a demonstration of physical harm.          Compare

Tetrault v. Mahoney, Hawkes & Goldings, 681 N.E. 1189, 1197

(Mass. 1997) (listing the elements of intentional infliction of

emotional distress, not including physical harm), with Payton v.

Abbott Labs, 437 N.E.2d 171, 181 (Mass. 1982) (listing the

elements of negligent infliction of emotional distress, including

physical harm).

     To prevail on a claim of intentional infliction of emotional

distress, “the plaintiffs must establish: (1) that the defendant

intended to inflict emotional distress, and knew or should have

known that emotional distress was the likely result of his

conduct, but also (2) that the defendant’s conduct was extreme

and outrageous, beyond all possible bounds of decency and utterly


                                    6
        Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 7 of 8



intolerable in a civilized community, (3) the actions of the

defendant were the cause of the plaintiff’s distress, and (4) the

emotional distress suffered by the plaintiff was severe and of

such a nature that no reasonable person could be expected to

endure it.”    Tetrault, 681 N.E. at 1197 (internal citation

omitted).

       I need not decide whether HSBC’s alleged conduct could,

somewhat implausibly, be “extreme and outrageous” because

Plaintiffs’ claim for intentional infliction of emotional

distress fails for more basic reasons.         Plaintiffs do not allege

that they suffered emotional distress (and certainly do not

allege that they suffered particularly severe emotional

distress).    Moreover, Plaintiffs do not allege that HSBC intended

to cause such distress.      Consequently, Plaintiffs fail to allege

adequately the elements necessary to support a claim for

intentional infliction of emotional distress under Massachusetts

law.   I therefore will grant HSBC’s motion to dismiss Count IV of

the Complaint.

                                     V.

       The Plaintiffs, who have had several lessons from several

judges in this Court and in the Court of Appeals about their duty

to allege plausible claims in their pleadings continue here to

view their allegations as infinitely mutable.          They attempt to

avoid their pleading responsibilities by offering implausible and


                                     7
      Case 1:11-cv-10053-DPW Document 33 Filed 03/26/12 Page 8 of 8



unpled factual contentions in their briefing and to request the

court make leaps of logic.     Unless pleading responsibilities are

to lose all rigor, this approach must be rejected.         Accordingly,

I GRANT Defendant’s motion to dismiss (Dkt. No. 18).




                                 /s/ Douglas P. Woodlock
                                 DOUGLAS P. WOODLOCK
                                 UNITED STATES DISTRICT JUDGE




                                   8
